Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 1 of 9 Page ID #:1
      

        CENTER FOR DISABILITY ACCESS
          Raymond Ballister Jr., Esq., SBN 111282
        Phyl Grace, Esq., SBN 171771
          Chris Carson, Esq., SBN 280048
        Dennis Price, Esq., SBN 279082
          Mail: PO Box 262490
        San Diego, CA 92196-2490
          Delivery: 9845 Erma Road, Suite 300
        San Diego, CA 92131
          (858) 375-7385; (888) 422-5191 fax
        phylg@potterhandy.com
        Attorneys for Plaintiff
 
 

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

          Antonio Fernandez,                       Case No.

                  Plaintiff,
                                                Complaint For Damages And
            v.                                     Injunctive Relief For Violations
                                                Of: American’s With Disabilities
          Pamela K. Barker, in individual          Act; Unruh Civil Rights Act
       and representative capacity as
          trustee of The Pamela K. Barker
       Revocable Trust created on 10-29-
          2001;
       DFC Recipe LLC, a California
          Limited Liability Company; and
       Does 1-10,
               Defendants.

           Plaintiff Antonio Fernandez complains of Pamela K. Barker, in
   individual and representative capacity as trustee of The Pamela K. Barker
   Revocable Trust created on 10-29-2001; DFC Recipe LLC, a California
   Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
   follows:



                                              
                                               
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 2 of 9 Page ID #:2
      

        PARTIES:
        1. Plaintiff is a California resident with physical disabilities. He is
    paralyzed from the waist down and uses a wheelchair for mobility.
        2. Defendant Pamela K. Barker, in individual and representative capacity
    as trustee of The Pamela K. Barker Revocable Trust created on 10-29-2001,
    owned the real property located at or about 4106 San Fernando Rd., Glendale,
    California, in January 2019.
        3. Defendant Pamela K. Barker, in individual and representative capacity
    as trustee of The Pamela K. Barker Revocable Trust created on 10-29-2001,
   owns the real property located at or about 4106 San Fernando Rd., Glendale,
   California, currently.
       4. Defendant DFC Recipe LLC owned Dinah’s Chicken located at or about
   4106 San Fernando Rd., Glendale, California, in January 2019.
       5. Defendant DFC Recipe LLC owns Dinah’s Chicken (“Restaurant”)
   located at or about 4106 San Fernando Rd., Glendale, California, currently.
       6. Plaintiff does not know the true names of Defendants, their business
   capacities, their ownership connection to the property and business, or their
   relative responsibilities in causing the access violations herein complained of,
   and alleges a joint venture and common enterprise by all such Defendants.
   Plaintiff is informed and believes that each of the Defendants herein,
   including Does 1 through 10, inclusive, is responsible in some capacity for the
   events herein alleged, or is a necessary party for obtaining appropriate relief.
   Plaintiff will seek leave to amend when the true names, capacities,
   connections, and responsibilities of the Defendants and Does 1 through 10,
   inclusive, are ascertained.

       JURISDICTION & VENUE:
       7. The Court has subject matter jurisdiction over the action pursuant to 28


                                              
                                               
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 3 of 9 Page ID #:3
      

    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
        8. Pursuant to supplemental jurisdiction, an attendant and related cause
    of action, arising from the same nucleus of operative facts and arising out of
    the same transactions, is also brought under California’s Unruh Civil Rights
    Act, which act expressly incorporates the Americans with Disabilities Act.
        9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
    founded on the fact that the real property which is the subject of this action is
    located in this district and that Plaintiff's cause of action arose in this district.

       FACTUAL ALLEGATIONS:
       10.Plaintiff went to the Restaurant in January 2019 to eat.
       11.The Restaurant is a facility open to the public, a place of public
   accommodation, and a business establishment.
       12.Restrooms are one of the facilities, privileges and advantages offered by
   Defendants to patrons of the Restaurant.
       13.The restroom doorway clear passage width was less than 32 inches and
   inaccessible to wheelchair users. In fact, the restroom doorway was about 26
   inches wide.
       14.Because the restroom doorway was too narrow, plaintiff could not get
   into the restroom.
       15.Currently, the restroom doorway clear passage width is less than 32
   inches and inaccessible to wheelchair users.
       16.Plaintiff personally encountered this barrier.
       17.This inaccessible facility denied the plaintiff full and equal access and
   caused him difficulty.
       18.Meanwhile, and even though the plaintiff did not personally confront
   the barriers, the toilet stall is improperly configured and too small for


                                                
                                                 
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 4 of 9 Page ID #:4
      

    wheelchair users, measuring 40 inches in width and 82 inches in depth.
        19.Instead of providing two grab bars on adjacent or parallel walls for use
    by persons with disabilities who need to transfer to the toilet, there is only one
    grab bar.
        20.The paper towel dispenser is mounted so that its highest operable part
    is greater than 48 inches above the finish floor and inaccessible to wheelchair
    users. In fact, the paper towel dispenser is about 55 inches high.
        21.The restroom mirror is mounted on the wall so that its bottom edge is
    more than 40 inches above the finish floor. In fact, the restroom mirror is about
   49 inches high.
       22.The plumbing underneath the sink is not wrapped to protect against
   burning contact.
       23.Defendants have failed to maintain in operable working condition those
   features of facilities and equipment that are required to be readily accessible to
   and usable by persons with disabilities at the Subject Property.
       24.The defendants have failed to maintain in working and useable
   conditions those features required to provide ready access to persons with
   disabilities.
       25.The barriers identified above are easily removed without much
   difficulty or expense. They are the types of barriers identified by the
   Department of Justice as presumably readily achievable to remove and, in fact,
   these barriers are readily achievable to remove. Moreover, there are numerous
   alternative accommodations that could be made to provide a greater level of
   access if complete removal were not achievable.
       26.The mirror could be lowered at little to no cost.
       27.The restroom dispenser could be lowered to a compliant height for little
   to no cost.
       28.Insulation can be installed under the sink at a cost of no more than $25.


                                               
                                                
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 5 of 9 Page ID #:5
      

        29.Plaintiff will return to the Restaurant to avail himself of their goods or
    services and to determine compliance with the disability access laws. He is
    currently deterred from doing so because of his knowledge of the existing
    barriers. If the barriers are not removed, the plaintiff will face unlawful and
    discriminatory barriers again.
        30.Given the obvious and blatant nature of the barriers and violations
    alleged herein, the plaintiff alleges, on information and belief, that there are
    other violations and barriers on the site that relate to his disability. Plaintiff will
    amend the complaint, to provide proper notice regarding the scope of this
   lawsuit, once he conducts a site inspection. However, please be on notice that
   the plaintiff seeks to have all barriers related to his disability remedied. See
   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
   encounters one barrier at a site, he can sue to have all barriers that relate to his
   disability removed regardless of whether he personally encountered them).

   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
   Defendants.) (42U.S.C. section 12101, et seq.)
       31.Plaintiff re-pleads and incorporates by reference, as if fully set forth
   again herein, the allegations contained in all prior paragraphs of this
   complaint.
       32.Under the ADA, it is an act of discrimination to fail to ensure that the
   privileges, advantages, accommodations, facilities, goods and services of any
   place of public accommodation is offered on a full and equal basis by anyone
   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
   § 12182(a). Discrimination is defined, inter alia, as follows:
             a. A failure to make reasonable modifications in policies, practices,
                 or procedures, when such modifications are necessary to afford


                                                
                                                 
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 6 of 9 Page ID #:6
      

                  goods,     services,    facilities,   privileges,    advantages,      or
                  accommodations to individuals with disabilities, unless the
                  accommodation would work a fundamental alteration of those
                  services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
               b. A failure to remove architectural barriers where such removal is
                  readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                  defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
                  Appendix “D.”
               c. A failure to make alterations in such a manner that, to the
                 maximum extent feasible, the altered portions of the facility are
                 readily accessible to and usable by individuals with disabilities,
                 including individuals who use wheelchairs or to ensure that, to the
                 maximum extent feasible, the path of travel to the altered area and
                 the bathrooms, telephones, and drinking fountains serving the
                 altered area, are readily accessible to and usable by individuals
                 with disabilities. 42 U.S.C. § 12183(a)(2).
       33.All doors to restrooms must have a minimum clear opening of 32 inches
   with the door open 90 degrees, measured between the face of the door and the
   opposite stop. 2010 Standards § 404.2.3.
       34.Here, the failure to provide the 32 inch wide restroom doorway opening
   is a violation of the ADA.
       35.Where a toilet stall is provided in a restroom in existing facilities, the size
   and arrangement of the standard toilet stall must be at least 60 inches wide by
   56 inches deep. 2010 Standards § 604.3.1.
       36.Here, the toilet area does not comply and is in violation of the law.
       37.For a toilet to be considered accessible under the ADA, there must be
   two grab bars on walls adjacent to the toilet to assist persons with disabilities
   to transfer to the toilet. 2010 Standards § 604.5.


                                                 
                                                  
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 7 of 9 Page ID #:7
      

        38.Here, the failure to provide two compliant grab bars is a violation.
        39.Mirrors shall be mounted with the bottom edge of the reflecting surface
    no higher than 40 inches above the finish floor. 2010 Standards § 603.3.
        40.Here, the mirror is mounted higher than the maximum permitted and is
    a violation of the ADA.
        41.If controls, dispensers, receptacles or other equipment is provided in a
    restroom, they must be on an accessible route and be mounted so that their
    highest operable parts are no greater than 48 inches above the floor. 2010
    Standards § 308.3.
       42.Here, the failure to ensure that the wall mounted accessories meet the
   height requirement is a violation of the ADA.
       43.Hot water and drain pipes under lavatories must be insulated or
   otherwise configured to protect against contact. 2010 Standards §606.5.
       44.Here, the failure to wrap the plumbing underneath the sink is a violation
   of the ADA.
       45.The Safe Harbor provisions of the 2010 Standards are not applicable
   here because the conditions challenged in this lawsuit do not comply with the
   1991 Standards.
       46.A public accommodation must maintain in operable working condition
   those features of its facilities and equipment that are required to be readily
   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
       47.Here, the failure to ensure that the accessible facilities were available
   and ready to be used by the plaintiff is a violation of the law.

   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
   Code § 51-53.)
       48.Plaintiff repleads and incorporates by reference, as if fully set forth


                                               
                                                
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 8 of 9 Page ID #:8
      

    again herein, the allegations contained in all prior paragraphs of this
    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
    that persons with disabilities are entitled to full and equal accommodations,
    advantages, facilities, privileges, or services in all business establishment of
    every kind whatsoever within the jurisdiction of the State of California. Cal.
    Civ. Code §51(b).
        49.The Unruh Act provides that a violation of the ADA is a violation of the
    Unruh Act. Cal. Civ. Code, § 51(f).
        50.Defendants’ acts and omissions, as herein alleged, have violated the
   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
   rights to full and equal use of the accommodations, advantages, facilities,
   privileges, or services offered.
       51.Because the violation of the Unruh Civil Rights Act resulted in difficulty,
   discomfort or embarrassment for the plaintiff, the defendants are also each
   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
   (c).

            PRAYER:
            Wherefore, Plaintiff prays that this Court award damages and provide
   relief as follows:
          1.For injunctive relief, compelling Defendants to comply with the
   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
   plaintiff is not invoking section 55 of the California Civil Code and is not
   seeking injunctive relief under the Disabled Persons Act at all.
          2.Damages under the Unruh Civil Rights Act, which provides for actual
   damages and a statutory minimum of $4,000.




                                               
                                                
      Complaint
      
Case 2:19-cv-01168-PSG-JC Document 1 Filed 02/15/19 Page 9 of 9 Page ID #:9
      

        3.Reasonable attorney fees, litigation expenses and costs of suit, pursuant
    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 
    Dated: February 11, 2019         CENTER FOR DISABILITY ACCESS
 
 
                                       By:
                                     __________________________________
                                           Chris Carson, Esq.
                                             Attorney for plaintiff
 





















                                             
                                              
      Complaint
      
